     Case 2:14-cr-00040-SM-DEK               Document 108         Filed 10/10/14       Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                                 CRIMINAL ACTION

VERSUS                                                                   NO. 14-40

DONALD NIDES                                                             SECTION "E"(3)

                                               ORDER

         Pending before the Court is Defendant Donald Nides’s motion to sever counts 7

and 9 from the trial of the remaining counts pursuant to Rule 14.1 Defendant contends

that joining counts 7 and 9 with the other counts “is prejudicial because it will cause

confusion, spill-over, and unnecessarily portray Nides as a ‘bad person.’ Moreover,

trying the defendant on counts 8 and 9 together will implicate the constitutional issue of

the Double Jeopardy Clause of the Fifth Amendment because it shields a defendant

from even the risk of being punished twice for the same offense.”2 The Government

argues that there is not prejudice requiring severance because evidence of counts 7 and

9 would be admissible at trial as to the others, and vice versa, and that double jeopardy

is not implicated with respect to counts 8 and 9.3

         The use of a Rule 14 motion to sever challenges the joinder of offenses that are

“properly joined under Rule 8” but “prejudicially joined” under Rule 14.4 Rule 14(a)

states that “[i]f the joinder of offenses . . . in an indictment . . . appears to prejudice a




1 R. Doc. 65.
2 R. Doc. 65-1 at p. 6 (emphasis omitted).
3 R. Doc. 83 at p. 3, 6.
4 United States v. St. Martin, 119 F. App'x 645, 648 (5th Cir. 2005). Defendant acknowledges that the

counts appear to be properly joined under Rule 8(a) as being of the same or similar character. R. Doc. 65-
1 at p. 6.
     Case 2:14-cr-00040-SM-DEK                Document 108           Filed 10/10/14        Page 2 of 2




defendant or the government, the court may order separate trials of counts.”5 The Court

is to “balance the prejudice to the defendant against the interests of judicial economy.”6

         In arguing that Defendant is not prejudiced, the Government cites United States

v. Ballis, in which the Fifth Circuit affirmed the district court’s denial of a severance

motion.7 The Fifth Circuit explained that “[n]o prejudice inures to the defendant where

a severance of counts would not result in a segregation of evidence.”8 Even if the counts

at issue were severed and tried separately, evidence of the obstruction of justice charge

would be probative evidence and admissible against Defendant to prove consciousness

of guilt with respect to counts 7 and 9.9 Similarly, evidence of counts 7 and 9 would be

admissible with respect to the conspiracy and obstruction charges.10 For that reason,

Defendant is not prejudiced by the joinder of counts 7 and 9 with the other counts.

         Although Defendant briefly argues that there are double jeopardy implications,11

the Court finds that the superseding indictment clearly describes separate instances of

false statements to a federal agent in counts 8 and 9. Thus, double jeopardy is not

implicated. Accordingly,

         IT IS ORDERED
                    Hellothat
                           ThisDefendant
                                is a Test Nides’s motion to sever is DENIED.
         New Orleans, Louisiana, this ____           October
                                      10th day of __________, 2014.


                                                       ____________________________
                                                             SUSIE MORGAN
                                                       UNITED STATES DISTRICT JUDGE


5 Fed. R. Civ. P. 14(a).
6 U.S. v. Forrest, 623 F.2d 1107, 1115 (5th Cir. 1980) (citing U.S. v. Cuesta, 597 F.2d 903, 919 (5th Cir.

1979)).
7 R. Doc. 83 at p. 4; 28 F.3d 1399, 1408–09 (5th Cir. 1994).
8 28 F.3d at 1408–09.
9
  See id.
10 Id.
11 R. Doc. 65-1 at p. 6–7.
